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10
                               UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12

13
     Jeffrey Bellows, Katherine Butler, Cheyenne     Case No. 4:20-cv-1178
14   Chitry, Christina Denton, Jorge Gonzalez, James
     Hancock, Donnie Hyso, Erik Lorack, Cassandra CLASS ACTION
15   Sweeney and Michael Whiter, individually and
     on behalf of all other similarly situated,
16                                                   DEFENDANT STARBUCKS
                     Plaintiffs,                     CORPORATION’S NOTICE OF
17                                                   REMOVAL OF ACTION UNDER 28
             vs.                                     U.S.C. §§ 1332, 1441, 1446 AND 1453
18
     Starbucks Corporation, and DOES 1 through 10,
19   inclusive,                                      Action Filed:   June 27, 2019
                                                     Trial Date:     None Set
20                Defendant.

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 1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFFS AND THEIR ATTORNEYS OF
 3   RECORD:
 4          PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332(d), 1441, 1446, and
 5   1453, Defendant Starbucks Corporation (“Defendant”) hereby removes the above-entitled action
 6   from the Superior Court of the State of California for the County of Alameda to the United States
 7   District Court for the Northern District of California, under the Class Action Fairness Act
 8   (“CAFA”), on the grounds that: (1) Plaintiffs are citizens of “a State different from” Defendant; (2)
 9   “the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs;”
10   and (3) “the number of members of all proposed plaintiff classes in the aggregate” is more than
11   100. The foregoing facts were true when Plaintiffs filed the Complaint, and remain true now.
12          Removal jurisdiction is therefore appropriate under CAFA as alleged in detail below.
13                PROCEDURAL BACKGROUND AND TIMELINESS OF REMOVAL
14          1.      On June 27, 2019, Plaintiffs filed an unverified complaint in the Superior Court of
15   the State of California for the County of Alameda, commencing the action entitled Jeffrey Bellows,
16   Katherine Butler, Cheyenne Chitry, Christina Denton, Jorge Gonzalez, James Hancock, Donnie
17   Hyso, Erik Lorack, Cassandra Sweeney and Michael Whiter, individually, and on behalf of all
18   others similarly situated, Plaintiffs, v. Starbucks Corporation; and Does 1 through 10, inclusive,
19   Case No. RG19024868 (“Complaint”). The Complaint alleges two causes of action: (1) Violation
20   of California Labor Code § 2802 (Unreimbursed Business Expenses); and (2) Violation of
21   California Labor Code §§ 17200, et seq. (Unlawful and Unfair Business Practices).
22          2.      On July 3, 2019, the Superior Court set a Complex Determination Hearing for
23   August 7, 2019 at 9:00 a.m. in Department 21. A copy of the Superior Court’s August 7, 2019
24   Order designating the case as complex is attached as Exhibit A to this Notice of Removal.
25          3.      Plaintiff served the Complaint on Defendant Starbucks Corporation via its registered
26   agent for service of process.1 A true and correct copy of the Summons and Complaint is attached
27

28   1
      Plaintiffs did not serve the Summons, the Civil Cover Sheet or the Notice of Case Management
     Conference on Defendant.
                                                      1                          Case No. 4:20-cv-1178
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 1   to this Notice as Exhibit B.
 2          4.      On August 14, 2019, Defendant timely filed an answer to Plaintiffs’ Complaint.
 3          5.      On October 17, 2019, Plaintiffs filed a First Amended Complaint (“FAC”) in the
 4   Superior Court of the State of California for the County of Alameda. A true and correct copy of
 5   the FAC and proof of service is attached as Exhibit C to this Notice of Removal. The Complaint
 6   alleges three causes of action: (1) Violation of California Labor Code § 2802 (Unreimbursed
 7   Business Expenses); (2) Violation of California Labor Code §§ 17200, et seq. (Unlawful and
 8   Unfair Business Practices); and (3) Penalties (Labor Code § 2699). In addition to the named
 9   Plaintiffs identified in the Complaint, the FAC included two additional named Plaintiffs: (1)
10   Elizabeth Anderson; and (2) Jacqueline Foster.
11          6.      On October 22, 2019, Defendant propounded Special Interrogatories, Form
12   Interrogatories-Employment, and Requests for Admission and Requests for Production, Set One on
13   Plaintiffs Jeffrey Bellows, Katherine Butler, Cheyenne Chitry, Christina Denton, Jorge Gonzalez,
14   James Hancock, Donnie Hyso, Erik Lorack, Cassandra Sweeney and Michael Whiter.
15          7.      On November 25, 2020, Defendant timely filed an answer to Plaintiffs’ FAC. A
16   true and correct copy of the Answer to the FAC is attached to this Notice as Exhibit D.
17          8.      On February 5, 2020, Plaintiffs Jeffrey Bellows, Katherine Butler, Cheyenne Chitry,
18   Christina Denton, Jorge Gonzalez, Donnie Hyso, Cassandra Sweeney and Michael Whiter served
19   Objections and Responses to Defendant’s Special Interrogatories, Form Interrogatories-
20   Employment, and Requests for Admission and Requests for Production, Set One.
21          9.      In response to Special Interrogatory no. 21, Plaintiff Donnie Hyso stated in part that,
22   “When Plaintiff was employed as a Store Manager, Plaintiff had unlimited talk, data, and text
23   plans, which cost $80.00 per month to Plaintiff’s recollection.” A true and correct copy of Plaintiff
24   Donnie Hyso’s Responses to Special Interrogatories, Set One is attached to the Declaration of
25   Carolyn B. Hall (“Hall Decl.”).
26          10.     On February 6, 2020, Plaintiff James Hancock served his response to Defendant’s
27   Special Interrogatories, Set One. In response to Special Interrogatory no. 21, Plaintiff James
28   Hancock stated in part that, “Plaintiff had an unlimited talk. Text and data plan for $50 per month.”

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 1   A true and correct copy of Plaintiff James Hancock’s Responses to Special Interrogatories, Set One
 2   is attached to the Hall Decl.2
 3          11.     Defendant’s Notice of Removal is timely because it is filed within thirty (30) days
 4   of receipt of Plaintiffs Donnie Hyso’s responses to Special Interrogatories, Set One which
 5   constitutes a “paper from which it may be first ascertained that a the case is one which is or has
 6   become removable.” 28 U.S.C. § 1446(b).
 7          12.     If the case stated by the initial pleading is not removable, a defendant in a civil
 8   action may file a notice of removal within 30 days after receipt by the defendant of a paper from
 9   which it may first be ascertained that the case is one which is removable. 28 U.S.C. § 1446(b) (3);
10   Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999). As Defendant
11   was served with discovery responses from which it could first ascertain that this case is one which
12   is removable on February 5, 2020, this Notice of Removal is timely.
13                PLAINTIFFS’ COMPLAINT IS REMOVABLE PURSUANT TO CAFA
14          13.     The Court has original jurisdiction over this action pursuant to CAFA, 28 U.S.C. §
15   1332(d). Under CAFA, federal district courts have original jurisdiction over a class action if (1) it
16   involves 100 or more putative class members, (2) any class member is a citizen of a state different
17   from any defendant, and (3) the aggregated amount in controversy exceeds $5 million. Id. As
18   discussed more fully below, because all such requirements are satisfied here, this action may be
19   removed to this Court by Defendants pursuant to 28 U.S.C. §§ 1441, 1446 and 1453.
20                          The Number of Putative Class Members is Satisfied
21          14.     Plaintiffs purport to bring this action on behalf of “(a)ll persons who are or have
22   been employed, at any time [‘from the date four years prior to the filing of this Complaint through
23   the date the Court grants class certification’] by Starbucks in California under the job title Store
24   Manager.” (FAC, ¶ 27.)
25          15.     Plaintiffs allege that “Defendant has employed hundreds of Store Managers in
26   California” during the alleged class period. (FAC, ¶ 28(a).)
27

28   2
      To date, Plaintiffs Donnie Hyso and James Hancock are the only Plaintiffs who have identified
     the costs of their personal mobile device plans.
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 1           16.     As of the date of removal, there are at least 4,168 individuals who fall within
 2   Plaintiffs’ proposed class definition.
 3           17.     There are more than 100 class members implicated in Plaintiffs’ Complaint.
 4   Therefore, the CAFA numerosity requirement is fulfilled. 28 U.S.C. § 1332(d).
 5           The Diversity of Citizenship Requirement is Satisfied
 6           18.     The minimal diversity requirement of 28 U.S.C. § 1332(d) is met in this action
 7   because the Court need only find that there is diversity between one putative class member and one
 8   defendant. 28 U.S.C. §§ 1332(d)(2), 1332(d)(5), 1452(a). Plaintiff Jeffrey Bellows, a putative class
 9   member, is a citizen of the State of California. (FAC, ¶ 8.)3 Members of the putative class, who are
10   or were employed in California, are presumed to be primarily citizens of the State of California.
11   For diversity purposes, a person is a “citizen” of the state in which he is domiciled. Kantor v.
12   Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
13           19.     Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a citizen of
14   every State and foreign state by which it has been incorporated and of the State or foreign state
15   where it has its principal place of business.” A corporation’s headquarters is presumptively the
16   location of its “principal place of business . . .” Hertz v. Friend, 559 U.S. 77, 78 (2010) (“[I]n
17   practice [a company’s principal place of business] should normally be the place where the
18   corporation maintains its headquarters—provided that the headquarters is the actual center of
19   direction, control and coordination, i.e., the ‘nerve center’ . . .”); Industrial Tectonics, Inc. v. Aero
20   Alloy, 912 F.2d 1090, 1093 (9th Cir. 1990) (providing that where a corporation does business in a
21   number of states and does not conduct the substantial predominance of its business in any single
22   one, the state where corporate headquarters is located is the corporation’s principal place of
23   business).
24           20.     Defendant Starbucks Corporation is a corporation formed and organized in the state
25   of Washington. Starbucks Corporation’s headquarters—which is its principal place of business and
26

27   3
      Named Plaintiffs and putative class members Elizabeth Anderson, Katherine Butler, Cheyenne
     Chitry, Christina Denton, Jacqueline Foster, Jorge Gonzalez, Donnie Hyso, Erik Lorack, Cassandra
28   Sweeney and Michael Whiter are citizens of California (FAC, ¶¶ 7-13, 15-18.) Named Plaintiff
     James Hancock, a putative class member, is a citizen of Nebraska. (FAC, ¶ 14.)
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 1   the center of its executive and administrative functions—is in Seattle, Washington. Consequently,
 2   Defendant Starbucks Corporation is a citizen of Washington for diversity purposes.
 3          21.     The citizenship of “Doe” defendants is disregarded for purposes of removal. 28
 4   U.S.C. § 1441(b)(1).
 5          The Requisite $5 Million Amount in Controversy is Satisfied
 6          22.     To establish the propriety of removal under 28 U.S.C. § 1446(a), a defendant
 7   seeking to remove a case to federal court must file a notice of removal “containing a short and
 8   plain statement of the grounds for removal.” As the Supreme Court recently held, Starbucks
 9   Corporation’s “notice of removal need include only a plausible allegation that the amount in
10   controversy exceeds the jurisdictional threshold. Evidence establishing the amount is required by §
11   1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s allegation.”
12   Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 84 (2014) (the “short and plain”
13   statement of the grounds for removal “need not contain evidentiary submissions” as long as the
14   allegation is “made in good faith”).
15          23.     The Class Action Fairness Act, 28 U.S.C. § 1332(d) authorizes the removal of class
16   action cases in which, among other factors mentioned above, the amount in controversy for all
17   class members exceeds $5 million. Plaintiffs’ Complaint is silent as to the total amount of
18   monetary relief sought. However, the failure of the operative complaint to specify the total amount
19   of monetary relief sought by Plaintiffs does not deprive this Court of jurisdiction. See White v. J.C.
20   Penny Life Ins. Co., 861 F. Supp. 25, 26 (S.D. W. Va. 1994) (observing that defendant may remove
21   suit to federal court notwithstanding the failure of plaintiff to plead a specific dollar amount in
22   controversy; if the rules were otherwise, “any Plaintiff could avoid removal simply by declining . .
23   . to place a specific dollar claim upon its claim.”). Defendants need only establish by a
24   preponderance of the evidence that Plaintiff’s claim exceeds the jurisdictional minimum. See
25   Rodriguez v. AT&T Mobility Servs., LLC, 728 F.3d 975, 977 (9th Cir. 2013) (citing Standard Fire
26   Ins. Co. v. Knowles, 133 S. Ct. 1345 (2013)); Sanchez v. Monumental Life Ins. Co., 102 F.3d 398,
27   404 (9th Cir. 1996); Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997);
28   Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2007) (in CAFA removal actions,

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 1   where the amount in controversy is unclear from the face of the complaint, defendant must produce
 2   underlying facts showing it is more likely than not that the amount in controversy exceeds $5
 3   million).
 4           24.     While Defendant denies the validity of Plaintiffs’ claims and requests for relief
 5   thereon, the facial allegations in Plaintiffs’ Complaint and their claimed damages are in excess of
 6   the jurisdictional minimum. See Rodriguez, 728 F.3d at 977 (citing Standard Fire Ins. Co. v.
 7   Knowles, 133 S. Ct. 1345 (2013)); Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir.1999)
 8   (finding that facts presented in notice of removal, combined with plaintiff’s allegations, sufficient
 9   to support finding of jurisdiction); DeAguillar v. Boeing Co., 47 F.3d 1404, 1412 (5th Cir.1995)
10   (stating that “defendant can show by a preponderance of the evidence that the amount in
11   controversy is greater than the jurisdictional amount”); accord Gaus v. Miles, Inc., 980 F.2d 564,
12   566-67 (9th Cir. 1992); White v. FCI USA, Inc., 319 F.3d 672, 674 (5th Cir.2003) (facially apparent
13   from the lengthy list of damages, combined with a claim for attorney’s fees, that plaintiff’s claim
14   exceeded the jurisdictional threshold).
15           25.     In determining the amount in controversy for CAFA purposes, all potential damages
16   based on the claims in the complaint, as well as attorney’s fees, are included. See Guglielmino,
17   506 F.3d at 701 (unspecified attorney’s fees are appropriately counted toward the amount in
18   controversy in CAFA removal actions); Muniz v. Pilot Travel Centers LLC, No. CIV. S-07-0325
19   FCD EFB, 2007 WL 1302504, at *3 (E.D. Cal. May 1, 2007) (“In measuring the amount in
20   controversy, a court must assume that the allegations of the complaint are true and that a jury will
21   return a verdict for the plaintiffs on all claims made in the complaint.”). As set forth and described
22   in more detail below, the amount in controversy is at least $5,905,100, which satisfies CAFA’s
23   jurisdictional prerequisite.
24           26.     This lawsuit arises from Plaintiffs’ employment at Starbucks. Plaintiffs’ FAC
25   asserts causes of action against Starbucks for alleged violations of California Labor Code § 2802,
26   California Business and Professions Code § 17200 and Penalties (Labor Code § 2699) (FAC,
27   generally.) Plaintiffs seek damages for unreimbursed business expenditures, “for such items as the
28   cost of personal cell phones and the concomitant data/text plans” (FAC, ¶ 28(b)(i)), and attorneys’

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 1   fees, on behalf of themselves and the putative class members for the alleged violations of the
 2   foregoing statutes. (FAC, Prayer for Relief.) Plaintiffs seek certification of a class that would
 3   include “[a]ll persons who are or have been employed during the [four-year] Class Period by
 4   Starbucks in California under the job title Store Managers.” (FAC, ¶ 27.) Plaintiffs allege that
 5   Starbucks “fails and refuses to reimburse Store Managers for [personal cell phone and data/text
 6   plan] business expenses incurred by them in their work as they managed Defendant’s location.”
 7   (FAC, ¶ 25.) Plaintiffs further allege that “Store Managers regularly incur business expenses in the
 8   discharge of their duties as employees.” (FAC, id.) Plaintiffs further allege that Starbucks requires
 9   Plaintiffs and putative class members to use “their personal cell phones and data plans to use
10   Starbucks’ GroupMe App to communicate with other Starbucks employees, use the Workplace
11   App to receive company news and announcements, place and/or receive calls or texts from
12   Starbucks employees working in the store location, place and/or receive calls or texts from
13   Starbucks employees not working at the store location regarding issues such as scheduling and
14   staffing, place and/or receive calls or texts from supervisorial Starbucks employees, participate in
15   conference calls, and post on Starbucks; social media accounts.” (FAC, ¶ 23.) Plaintiffs allege that
16   “[s]ince at least four years prior to the filing of this action, Defendant has maintained expense
17   policies and/or practices that deny lawful reimbursement and/or compensation to its Store
18   Managers.” (Id.) Plaintiffs allege that every putative class member is owed “reimbursement for
19   [use of their personal cell phones and data/text plans], plus interest and attorneys’ fees and costs
20   under Labor Code § 2802(c).” (FAC, ¶ 32.)
21          27.     Defendant denies that any such reimbursements are owed to Plaintiffs or putative
22   class members. But for purposes of this jurisdictional analysis only, Defendant relies on Plaintiffs’
23   allegation that the reimbursements are owed. See Ibarra v. Manheim Invs., Inc., 775 F.3d 1193,
24   1197 (9th Cir. 2015) (“In determining the amount in controversy, courts first look to the
25   complaint.”); Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 399 (9th Cir. 2010) (“in determining
26   the amount [in controversy], we first look to the complaint.”); Heejin Lim v. Helio, LLC, No. CV
27   11-9183 PSG, 2012 WL 359304, at *2 (C.D. Cal. Feb. 2, 2012) (“The ultimate inquiry is,
28   therefore, what amount is put ‘in controversy’ by the plaintiff’s complaint or other papers, not what

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 1   the defendant will actually owe for the actual number of violations that occurred, if any.”)
 2   (citations and quotations omitted).
 3            28.    California Labor Code section 2802 provides that “[a]n employer shall indemnify
 4   his or her employee for all necessary expenditures or losses incurred by the employee in direct
 5   consequences of the discharge of his or her duties, or of his or her obedience to the directions of the
 6   employer.” Cal. Lab. Code § 2802(a). For this provision, “the term ‘necessary expenditures or
 7   losses’ shall include all reasonable costs, including, but limited to attorney’s fees incurred by the
 8   employee enforcing the rights granted by this section.” Id. § 2802(c).
 9            29.    Since June 27, 2015 through the present, at least 4,168 Starbucks employees in
10   California have the job title of Store Manager, i.e., would be members of the putative class. A total
11   of 118,102 aggregate months were worked by these Store Managers, i.e., members of the putative
12   class.
13            30.    As Plaintiffs allege that they and putative class members “regularly” used their
14   personal cell phones and data/text plans “in direct consequence of discharging their managerial
15   duties on behalf of Defendant” (FAC, ¶¶ 23, 25), and that Defendant “fails and refuses to
16   reimburse Store Managers [and putative class members] for such business expenses incurred by
17   them in their work as they managed Defendant’s locations” (FAC, ¶ 25), it is reasonable to assume
18   for purposes of calculating the amount in controversy that the putative class members incurred a
19   reimbursable expense every month worked in the class period.4 See, e.g., LaCross v. Knight
20   Transp. Inc., 775 F.3d 1200, 1203 (9th Cir. 2015) (reversing the district court’s decision to remand
21   where defendants estimated damages based on the assumption that every putative class member
22   was owed reimbursement); Unutoa v. Interstate Hotels & Resorts, Inc., No. 2:13-cv-09809-SVW-
23   PJ, 2015 WL 898512, at *3 (C.D., Cal. Mar. 3, 2015) (denying plaintiff’s motion to remand where
24   defendants’ “calculation of the amount in controversy relie[d] on assumed rates of violation” and
25   the “rates are sufficiently supported by [plaintiff’s] allegations and Defendants’ evidence”); Mejia
26

27
     4
       To the extent Plaintiffs contest the rate of violations, Plaintiffs cannot artificially limit the amount
28   in controversy or disavow collection of part of the damages on behalf of absent putative class
     members. See Standard Fire Ins. Co. v. Knowles, 133 S. Ct. 1345, 1350 (2012).
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 1   v. DHL Express (USA), Inc., No. CV 15-890-GHL JCX, 2015 WL 2452755, at *4 (C.D. Cal. May
 2   21, 2015) approving of an assumed 100% violation rate where plaintiff alleged defendant
 3   maintained uniform policies and practices and procedures).
 4           31.    The assumption that putative class members incur a reimbursable expense every
 5   month is also reasonable because the Named Plaintiffs themselves claim to have incurred
 6   reimbursable expenses throughout their employment and have also alleged that their claims are
 7   typical of the proposed class. (FAC, ¶¶ 7-18, 28(c).)
 8           32.    If, as Plaintiffs allege, such use of their personal cell phones constitutes a necessary
 9   expenditure or loss under California Labor Code section 2802, all Store Managers within the
10   relevant time period incurred such necessary expenditures, the amount in controversy with respect
11   to this claim would be greater than $5million, calculated as shown in the chart below.5
12                       Amount of Reimbursement Claims in Controversy

13

14            Aggregate Number of Months Worked by                                  118,102
              Putative Class Members
15
              Cost of personal cell phone                                        $50.00/month
16
              Minimum amount in controversy for                                   $5,905,100
17            Defendant ($50.00 average monthly
18            reimbursement x 118,102 months

19       Plaintiffs’ Request for Attorneys’ Fees Places an Additional $XX Million in Controversy

20           33.    In addition to the foregoing, Plaintiffs seek “that Plaintiffs and the Class be awarded

21   reasonable attorneys’ fees and costs pursuant to Labor Code § 2802 and Code of Civil Procedure §

22   1021.5, and/or other applicable law.” (Prayer for Relief, ¶ 7.) A realistic estimate of Plaintiffs’

23   attorneys’ fees is 25% of the total recovery. See Muniz v. Pilot Travel Centers LLC, 2007 WL

24   1302504, at *4 n.8 (noting that “in California, where wage and hour class actions have settled prior

25   to trial for millions of dollars, it is not uncommon for an attorneys’ fee award to be in the realm of

26   25% to 30% of the settlement . . . .”). Because the amount in controversy just for Plaintiffs’ claim

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28   5
      Defendant reserves the right to “challenge the actual amount of damages in subsequent
     proceedings and at trial.” Ibarra, 775 F.3d at 1198 n.1.
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 1   for unpaid business expense reimbursement (which represents only a portion of all of Plaintiffs’
 2   possible claimed recovery for which attorneys’ fees are available) is approximately $5,905,100, as
 3   detailed above. Plaintiffs’ attorneys’ fees for unreimbursed business expenses must be estimated as
 4   approximately $1,476,275, which is the aggregate of 25% of the amount in controversy for that
 5   claim alone.
 6           34.     As noted in a recent Ninth Circuit opinion, “when a statute or contract provides for
 7   the recovery of attorney fees, prospective attorney fees must be included in the assessment of the
 8   amount in controversy.” Arias v. Residence Inn by Marriott, 936 F.3d at 922 (citing Fritsch v. Swift
 9   Transp. Co. of Ariz., LLC, 889 F.3d 785, 794 (9th Cir. 2018); Bell v. Preferred Life, 320 U.S. 238
10   (1943); Goldberg v. C.P.C. Int’l, Inc., 678 F.2d 1365, 1367 (9th Cir. 1982) (attorneys’ fees may be
11   taken into account to determine jurisdictional amounts); Guglielmino v. McKee Foods Corp., 506
12   F.3d 696 at 701 (holding that attorneys’ fees must be included in determining the amount in
13   controversy in CAFA removal actions); Sanchez v. Wal-Mart Stores, Inc., 2007 WL 1345706 at *2
14   (finding that, even if a more conservative estimate of compensatory damages totaling less than $5
15   million was appropriate, the addition of attorneys’ fees should be included in determining the
16   amount in controversy).
17           35.     Plaintiffs’ allegations regarding business expenditures for an alleged violation of
18   California Labor Code section 2802 places at least $5,905,100 million in controversy. Plaintiffs’
19   request for attorneys’ fees places an additional $1,476,275 million in controversy. In total,
20   Plaintiffs’ cause of action under section 2802, including attorneys’ fees, places at least $7,381,375
21   in controversy, which satisfies CAFA’s jurisdictional prerequisite. Although Starbucks specifically
22   denies Plaintiffs’ claims and further denies that Plaintiffs will recover the relief they seek, it is clear
23   from the scope of the relief sought that the amount in controversy arising from the relief Plaintiffs
24   seek exceeds the $5,000,000 jurisdictional threshold of 28 U.S.C. § 1332(d).
25                                  CAFA Exceptions Are Not Applicable
26           36.     Further, while 28 U.S.C. §§ 1332(d)(3) & (4) recognizes situations where this Court
27   may or must decline jurisdiction despite the fact that the minimal diversity and the amount in
28   controversy requirements of § 1332(d)(2) are satisfied, none of those requirements are met here.

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 1   See 28 U.S.C. §§ 1331(d)(3) & (4).
 2                      SATISFACTION OF PROCEDURAL REQUIREMENTS
 3            37.   In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is filed in the
 4   District in which the action is pending. The Alameda County Superior Court is located within the
 5   Northern District of California. Therefore, venue is proper in this Court because it is the “district
 6   and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
 7            38.   In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders
 8   served upon Defendants are attached as Exhibits to this Notice.
 9            39.   In accordance with 28 U.S.C. § 1446(d), a copy of this Notice is being served upon
10   counsel for Plaintiff, and a notice will be filed with the Clerk of the Superior Court of California
11   for the County of Alameda. Notice of Compliance shall be filed promptly afterwards with this
12   Court.
13            40.   In the event this Court has a question regarding the propriety of this Notice of
14   Removal, Starbucks respectfully requests that the Court issue an Order to Show Cause so that
15   Starbucks may have an opportunity to supplement a more detailed brief outlining the basis for this
16   removal.
17            WHEREFORE, Defendant removes the above-captioned action to the United States District
18   Court for the Northern District of California.
19

20   DATED: February 14, 2020                           OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.
21

22                                                      By:      /s/ Carolyn B. Hall
                                                              DOUGLAS J. FARMER
23                                                            CAROLYN B. HALL
                                                              BRIAN D. BERRY
24                                                            JUSTIN C. WHITE
25                                                            Attorneys for Defendant
                                                              STARBUCKS CORPORATION
26

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                                                   11                               Case No. 4:20-cv-1178
                                           NOTICE OF REMOVAL
